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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                              CASE NO. 21-CR-20337-BLOOM

 UNITED STATES OF AMERICA,

 v.

 ADOLFO FERNANDEZ,

       Defendant.
 ____________________________________/

                            GOVERNMENT’S RESPONSE TO
                          THE STANDING DISCOVERY ORDER

        The United States hereby files this response to the Standing Discovery Order. This

 response also complies with Local Rule 88.10 and Federal Rule of Criminal Procedure 16, and is

 numbered to correspond with Local Rule 88.10.

 A.     1.     A copy of any written or recorded statements of the Defendant will be provided to
               the Defense by separate mailing.

        2.     The Defendant did not testify before the Grand Jury.

        3.     The NCIC record of the Defendant will be provided to the Defense by separate
               mailing.

        4.     Books, papers, documents, photographs, tangible objects, buildings or places
               which the government intends to use as evidence at trial to prove its case in chief,
               or were obtained or belonging to the Defendant, are attached to this response to
               the extent practicable but not filed with the Court. Other items, including
               contraband and additional items that may become available at a later date, may
               be inspected at a mutually convenient time. Please call the undersigned to set up
               a date and time that is convenient to both parties.

        5.     There were no physical or mental examinations or scientific tests or experiments
               made in connection with this case.

 B.            DEMAND FOR RECIPROCAL DISCOVERY: The United States requests the
               disclosure and production of materials enumerated as items 1, 2 and 3 of Section
               B of the Standing Discovery Order. This request is also made pursuant to Rule
               16(b) of the Federal Rules of Criminal Procedure.
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 C.          The government will disclose any information or material which may be
             favorable on the issues of guilt or punishment within the scope of Brady v.
             Maryland, 373 U.S. 83 (1963), and United States v. Agurs, 427 U.S. 97 (1976).

 D.          The government will disclose any payments, promises of immunity, leniency,
             preferential treatment, or other inducements made to prospective government
             witnesses, within the scope of Giglio v. United States, 405 U.S. 150 (1972), or
             Napue v. Illinois, 360 U.S. 264 (1959).

 E.          The government will disclose any prior convictions of any alleged co-conspirator,
             accomplice or informant who will testify for the government at trial.

 F.          The Defendant was not identified in a lineup, show up, photo spread or similar
             identification proceedings.

 G.          The government has advised its agents and officers involved in this case to
             preserve all rough notes.

 H.          The government will timely advise the Defendant of its intent, if any, to introduce
             during its case in chief proof of evidence pursuant to F.R.E. 404(b). You are
             hereby on notice that all evidence made available to you for inspection, as well as
             all statements disclosed herein or in any future discovery letter, may be offered in
             the trial of this cause, under F.R.E. 404(b) or otherwise (including the
             inextricably-intertwined doctrine).

 I.          The Defendant is not an aggrieved person, as defined in Title 18, United States
             Code, Section 2510(11), of any electronic surveillance.

 J.          The government has ordered transcribed the Grand Jury testimony of all witnesses
             who will testify for the government at the trial of this case.

 K.          The government is not aware of any substances involved in this case for which
             chemical analysis would be relevant.

 L.          The government does not know of any automobile, vessel, or aircraft allegedly
             used in the commission of this offense that is in the government's possession.

 M.          The government is not aware of any latent fingerprints or palm prints which have
             been identified by a government expert as those of the defendant.

 N.          To date, the government has not received a request for disclosure of the subject-
             matter of expert testimony that the government reasonably expects to offer at trial.

             The government hereby demands a written summary of expert testimony that the
             defense reasonably expects to offer at trial pursuant to Rules 702, 703 or 705 of
             the Federal Rules of Evidence, describing the witnesses’ opinions, the bases and

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               the reasons for those opinions, and the witnesses’ qualifications.

 O.            The government will make every possible effort in good faith to stipulate to all
               facts or points of law the truth and existence of which is not contested and the
               early resolution of which will expedite trial. These stipulations will be discussed
               at the discovery conference.

        The government is aware of its continuing duty to disclose such newly discovered
 additional information required by the Standing Discovery Order, Rule 16(c) of the Federal
 Rules of Criminal Procedure, Brady, Giglio, Napue, and the obligation to assure a fair trial.

        In addition to the request made above by the government pursuant to both Section B of
 the Standing Discovery Order and Rule 16(b) of the Federal Rules of Criminal Procedure, in
 accordance with Rule 12.1 of the Federal Rules of Criminal Procedure, the government hereby
 demands notice of any alibi defense for the time, date, and place specified in each count of the
 Indictment.

        The discovery includes documents bates-labeled USA0001 – USA0135, two audio files,
 and two video files. Please contact the undersigned if any discovery is missing.


                                               Respectfully submitted,

                                               JUAN ANTONIO GONZALEZ
                                               ACTING UNITED STATES ATTORNEY


                                      By:
                                               Adam M. Hapner
                                               Assistant United States Attorney
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                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on June 28, 2021, I electronically filed the foregoing

 document with the Clerk of the Court using CM/ECF and mailed the above-mentioned discovery

 to:

       Daniel L. Ecarius
       Assistant Federal Public Defender
       Florida Bar No. 719765
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       Miami, FL 33l30-1556
       (305) 530-7000


                                           By:
                                                   Adam M. Hapner
                                                   Assistant United States Attorney




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